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                    THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                          GREAT FALLS DIVISION

 UNITED STATES OF AMERICA,                          CR-14-96-GF-BMM

                          Plaintiff,
     vs.                                                  ORDER

 JUSTIN ROLAND TURNER,

                          Defendant.

      Defendant Justin Roland Turner has moved for early termination of his

current term of supervised release. (Doc. 885.) The Government opposes the

motion. (Doc. 887.) Turner’s probation officer confirms that Turner has complied

with his supervision conditions. The Court conducted a hearing on the motion on

November 15, 2018. For the reasons below, the Court will grant Turner’s motion.

      Turner pleaded guilty to conspiracy to possess with intent to distribute

methamphetamine, 21 U.S.C. § 846 and conspiracy to commit money laundering,

18 U.S.C. § 1956. The Court sentenced Turner to 32 months imprisonment on

Count I and 32 months imprisonment on Count II, to run concurrently. Turner was

also sentenced to four years supervised release on Count I and three years

supervised release on Count II, to run concurrently. (Doc. 639.) Turner’s

supervised release commenced on December 21, 2016, and will end on December

20, 2020. Turner has completed approximately 23 months of his supervised

release.
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      Federal law authorizes a defendant to move for termination of his supervised

release after successfully completing one year if the Court is satisfied that such

action remains “warranted by the conduct of the defendant and the interests of

justice.” 18 U.S.C. § 3564(c) The Court must consider the factors in 18 U.S.C. §

3553(a) when evaluating whether to terminate a term of supervised release.

      The record reflects that Turner has complied with his supervision conditions.

Turner has demonstrated he is able to conform his conduct to the law. Turner has

obtained steady employment and has changed his lifestyle to address the Court’s

obligations. Turner does not pose a threat to the community. The factors in 18

U.S.C. § 3553 support an early termination of supervised release.

       Accordingly, IT IS ORDERED:

      1.     Defendant’s Motion for Early Termination of Supervised Release

(Doc. 885) is GRANTED.

      DATED this 15th day of November, 2018
